                                                                                                                        An F^jOKO
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   B 6B (Official Form 6B) (12/07)

b Inre &ARAE:S                                    IJUBBAQ9 ,                                                caseNo}j,'/ 3 "bk - /GX93 " SSC
                            Debtor                                                                                              (If known)



                                              SCHEDULE B - PERSONAL PROPERTY
              Except as directed below, list all personal property ofthe debtor of whatever kind. Ifthe debtor has no property in one or more of the categories,
   place an "x" in the appropriate position in the column labeled "None." If additional space is needed in any categoty, attach a separate sheet properly
   identified with the case name, case number, and the number ofthe category. Ifthe debtor is married, state whetherthe husband, wife, both, or the marital
   community own the property by placing an "H," "W." "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an
   individual or a joint petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

            Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
   Unexpired Leases.

   If the property is being held for the debtor by someone else, state that person's name and address under '"Description and Location of Property."'
   If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
   "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. l007(m).


                                                                                                                    §           current value of
                                                                                                                    s           debtor's interest
                                                         n                                                          gE         in property, with-
                  type of property                       o           description and location                       ¥5         out deducting any
                                                         :                  OF PROPERTY                             ja           SECURED CLAIM
                                                                                                                    =g               or exemption

    ]. Cashonhand                                                       -                                           =        4 lac). a U

    2. Checking, savings or other finan-
    cial accounts, certificates of deposit
    or shares in banks, savings and loan,
    thrih, building and loan, and home-       ,        X\
    stead associations. or credit unions,
    brokerage houses, or cooperatives.


    3. Security deposits with public util-
    ities, telephone companies, land-              *
    lords, and others.


    4. Householdgoodsand furnishings,                         CoUeAlCAA(A5/ 7At3kEl Bkl7                           D      g al 300, O d
    including audio, video, and computer

    equipment.                                                eoMpUzr4 ) TV

    5. Books; pictures and other art
    objects: antiques, stamp, coin,
    record, tape, compact disc, and other          Y~
    collections or collectibks.



    ' W'a"ngappa'e'                                            5ka')5 / G Kn-75             5kok 5                               g go. 0 O
                                                                                      (
    7. Furs and jewelry.                                7<\


    8. Firearms and sports, photo-
    graphic, and other hobby equipment.                µ~,


    9. Interests in insurance policies.                                                                                           q           ~
    Name insurance company of each                 ~                                                                              —·
                                                                                                                                  cnp         =
                                                                                                                                              G.Gb
    policy and itemize surrender or                                                                                               ~ Ln
    refund value of each.                                                                                                        m.           =
                                                                                                                                 OC7          =
                                                                                                                                 ~> CJ       "<       -.-7
    10. Annuities. Itemize and name                                                                                                ~         ~.m




    1 l. Interests in an education IRA as                                                                                        7j =        :X
    de.ined in 26 U.S.C. § 530(b)( 1) or under                                                                                   "
                                                                                                                                 ~ "m
    a qualified State tuition plan as defined in                                                                                 a CJ        qjC)
                                                                                                                                              0 0


    26 U.S.C § 529(b)(l).Giveparticulars.              Y~                                                                        Z"<         r
    (File separately the record(s) of any such                                                                                   >           c,n
    interest(s). 1 1 U.S.C. § 52 l(c)-)




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         B 6G (Official Form 6G) (12/07)

         In re eHARkg5 h/Ue«4q d                                                            CaseNo.2!/3-bk-/G5'73 "sse
                              Debtor                                                                             (if known)


               SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                 Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare
             interests. State nature of debtor's interest in contract, i.e., "Purchaser," "Agent," etc. State whether debtor is the lessor or
             lessee of a lease. Provide the names and complete mailing addresses of all other parties to each lease or contract described. If
             a minor child is a party to one of the leases or contracts, state the child's initials and the name and address of the child's parent
             or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. § l 12 and
             Fed. R. Bankr. P. l007(m).

       yheck this box if debtor has no executory contracts or unexpired leases.



                   NAME AND MAILING ADDRESS,                                       DESCRIPTION OF CONTRACT OR LEASE AND
                       INCLUDING ZIP CODE,                                          NATURE OF DEBTOR'S INTEREST. STATE
             OF OTHER PARTIES TO LEASE OR CONTRACT.                                WHETHER LEASE IS FOR NONRESIDENTIAL
                                                                                      REAL PROPERTY. STATE CONTRACT
                                                                                   NUMBER OF ANY GOVERNMENT CONTRACT.




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    B 6H (Official Form 6H) (12/07)

    InrePNARKES Hubbar D                                                                              Case No. Q!L3 —bk -lc ;93 —sse
                             Debtor                                                                                            (if known)


                                                       SCHEDULE H - CODEBTORS
        Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by the
    debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
    commonwealth, or territory (including Alask% Arizona, California, Idaho, Louisiana, NevadZ New Mexico, Puerto Rico, Texas, Washington, or
    Wisconsin) within the eight-year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of any
    former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used by the
    nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor, state the
    child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the
    child's name. See, 11 U.S.C. §112 and Fed. R. Bank. P. l007(m).
g?:check this box if debtor has no codebtors.

    T\,
                    NAME AND ADDRESS OF CODEBTOR                                              NAME AND ADDRESS OF CREDITOR




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